      Dated: 9/22/2021




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                        )
                                              )
LG ORNAMENTALS, LLC                           )     CASE NO. 20-03560-MH3-11
LIVINGSCAPES, LLC                             )     CASE NO. 20-03561-MH3-11
                                              )
                       Debtors                )


                 ORDER AUTHORIZING ROBERT H. WALDSCHMIDT
                           TO APPEAR VIA ZOOM
               AT CONFIRMATION HEARINGS ON SEPTEMBER 28, 2021



         Upon the Motion of Robert H. Waldschmidt, Trustee for the Bankruptcy Estate of James

Whitfield Livingston (“Trustee”), and for other cause to the Court shown;

         IT IS HEREBY ORDERED that Robert H. Waldschmidt, Trustee for the Bankruptcy

Estate of James Whitfield Livingston (“Trustee”) be, and is hereby permitted to attend the

confirmation hearings scheduled in both Chapter 11 matters above at 9am on September 28, 2021, via

Zoom, using the Zoom call-in number listed on the Court’s website.

   This order was signed and entered electronically as indicated at the top of the first page.



APPROVED FOR ENTRY:


/s/Robert H Waldschmidt
ROBERT H. WALDSCHMIDT (#4657)
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                                                                     This Order has been electronically
                                                                     signed. The Judge's signature and
                                                                     Court's seal appear at the top of the
                                                                     first page.
                                                                     United States Bankruptcy Court.

Case 3:20-bk-03561       Doc 98   Filed 09/23/21 Entered 09/23/21 08:09:22                  Desc Main
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